Case 3:22-cv-00049-NKM-JCH Document 163 Filed 02/10/23 Page 1 of 1 Pageid#: 1462




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,                         )
                                            )
        Plaintiffs,                         )
                                            )
  v.                                        )                 Case No. 3:22-cv-49-NKM
                                            )
  JOSHUA MAST, et al.,                      )
                                            )
        Defendants,                         )
                                            )
  and                                       )
                                            )
  UNITED STATES SECRETARY OF                )
  STATE ANTONY BLINKEN, et al.,             )
                                            )
        Nominal Defendants.                 )
  __________________________________________)

                                              ORDER

         Having considered Defendant Ahmad Osmani’s Motion to File Exhibit Under Seal, and

  for good cause shown, and the requirements of Local Civil Rule 9(b), and the decisions in Ashcraft

  v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight Publishing Co., 743 F.2d 231 (4th Cir.

  1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988), having been met, it is hereby

  ORDERED that Defendant Osmani’s Motion is GRANTED. It is further ORDERED that Exhibit

  A is filed under seal.

         It is so ORDERED.

  Charlottesville, Virginia


  Dated: February 10, 2023
                                                      ___________________________
                                                      Joel C. Hoppe
                                                      United States Magistrate Judge
